974 F.2d 1331
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Clarence Carter MOORE, Plaintiff-Appellant,v.WALTER H. EMROCH &amp; ASSOCIATES, Defendant-Appellee.
    No. 92-1768.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 31, 1992Decided:  Sept. 15, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  Richard L. Williams, Senior District Judge.  (CA-91-494)
      Clarence Carter Moore, Appellant Pro Se.  Karen Ann Gould, Crews &amp; Hancock, Richmond, Virginia, for Appellee.
      E.D.Va.
      AFFIRMED.
      Before SPROUSE and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Clarence Carter Moore appeals from the district court's order denying his "Motion for Judicial Notice."  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Moore v. Walter H. Emroch &amp; Assocs., No. CA-91-494 (E.D. Va.  June 8, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    